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17                          UNITED STATES DISTRICT COURT
18                        CENTRAL DISTRICT OF CALIFORNIA
19
20 LA ALLIANCE FOR HUMAN RIGHTS, et al., Case No.: 2:20-cv-02291-DOC-KES
                                            Assigned to Judge David O. Carter
21
                  Plaintiffs,
22                                          STATUS REPORT
          vs.
23                                          Status Conference
                                            Date: March 24, 2020
24 CITY OF LOS ANGELES, a municipal entity;
   COUNTY OF LOS ANGELES, a municipal       Time: 10:00 a.m.
25 entity; and DOES 1 through 10 inclusive, Location: 501 S. Spring St.
26
                      Defendants.
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 2          Defendants City of Los Angeles (“City”) and County of Los Angeles (“County”)
 3 (collectively “Defendants”) have taken swift and decisive action to mitigate the effects of
 4 the COVID-19 outbreak on persons experiencing homelessness, a population that is
 5 vulnerable to the spread of the virus due to physical environments with limited access to
 6 hygiene and sanitation and high rates of underlying health conditions. While this crisis,
 7 and Defendants’ response to it, remains a fluid and ever-changing situation, the following
 8 is a summary of some of the Defendants’ recent actions and plans:
 9 I.       CITY ACTIONS
10          Emergency Shelters.
11          On March 18, 2020, the City activated the Mass Shelter Expansion Program
12 (MSEP) to bring persons experiencing homelessness indoors to lessen the spread and
13 impact of COVID-19. The MSEP has been set up and is being operated under the
14 guidance of and with the approval of the Los Angeles County’s Department of Public
15 Health (DPH). [See March 20, 2020 letter from Dr. Barbara Ferrer, Director of DPH, to
16 Mayor Eric Garcetti, attached hereto as Exhibit A.] The first tier of the City’s MSEP
17 response includes 745 beds at 13 emergency shelters located in recreation centers
18 throughout the City. To date, the City has opened 8 emergency shelters, with a current
19 total of 366 beds, each placed six feet apart. Every MSEP shelter is staffed with
20 healthcare providers who are responsible for screening all persons coming into the shelter
21 for COVID-19 symptoms and triaging those who present symptoms that require a higher
22 level of care. Additionally, the healthcare providers educate and assist persons in the
23 shelters with avoiding COVID-19 contraction by social distancing, frequent hand
24 washing, sneezing or coughing into the crook of the elbow, and being “safer at home”
25 inside the MSEP facility.
26          The City has the capability to open up to 42 emergency shelters in total, based on
27 need as guided by DPH and available public health staffing. To increase available
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 1 staffing, Mayor Eric Garcetti activated the City’s Disaster Service Worker program on
 2 March 18, 2020 and on March 20, 2020 asked all City employees to step forward and
 3 volunteer to be re-deployed through the program.
 4          Modular Housing.
 5          The City is still collecting information to determine if the modular housing
 6 demonstrated at the previous emergency status conference is a feasible solution under
 7 state and local building and fire codes. Unfortunately, prefabricated housing is not
 8 necessarily a ready-made solution because City personnel must determine if the housing
 9 is certified for occupancy by the State of California, and if not, then additional
10 determinations must be made to ensure the housing will be safe and compliant with state
11 and local building and fire codes. Fortunately, in the interim, the City has secured 650
12 trailers from the State of California that can be immediately deployed to the parking lots
13 at the emergency shelter sites.
14          Hygiene.
15          By the end of this week, the City will have 12 shower trailers that can be deployed
16 near emergency shelter sites or homeless encampments, wherever the public health need
17 is the greatest. These trailers contain 8 showers each, allowing for improved hygiene that
18 lessens the spread and impact of COVID-19 amongst persons experiencing homelessness.
19 In addition, 360 hand-washing stations and 120 portable toilets (with sinks) either have
20 been deployed by the City or are ordered for deployment.
21          Vehicles as Shelters.
22          Nearly 10,000 people experiencing homelessness use their vehicles for shelter on
23 any given night in the City of Los Angeles. Recognizing that a vehicle can provide the
24 opportunity for self-isolation during this crisis, the City has temporarily ceased towing
25 vehicles for lapsed registration for more than six months, five or more unpaid parking
26 tickets, parking in one location for more than 72 hours, or if the vehicle is inoperable,
27 unless the vehicle is a threat to public health or safety or impedes essential City services.
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 1 II.      COUNTY ACTIONS
 2           Prioritization.
 3          The County is currently prioritizing individuals with diagnosed cases of COVID-
 4 19 and “at risk” or vulnerable persons experiencing homelessness, that is individuals over
 5 65, or with chronic health conditions, or living in congregated areas.
 6          Planned Isolation and Quarantine.
 7          The County currently has over 574 beds available for isolation and quarantine,
 8 with a total of 2,000 beds anticipated to be available by the end of this week. The County
 9 will provide beds in motels, hotels, and trailers throughout the County. The City supports
10 the County’s hotel/motel isolation program by screening and triaging homeless
11 populations as part of its outreach and shelter efforts.
12          Additional Hotel/Motel Rooms Procured by County.
13          On March 20, 2020, Plaintiffs’ counsel recommended that the City or County
14 reach out to Merrill Butler, a broker/owner controlling 2,000 potential motel/hotel beds.
15 County officials contacted Mr. Butler. The County is currently negotiating the
16 procurement of all available beds. The County would like to secure access to these
17 facilities as soon as possible and currently plans to make these motel/hotel rooms
18 exclusively available to vulnerable persons experiencing homelessness.
19          Additional Hotel/Motel Rooms Procured by State.
20          The State of California is working to procure additional motel and hotel beds
21 throughout the State. The County is in discussions with the State to procure a subset of
22 those beds. The specific number of beds that the State may make available is not yet
23 known.
24          County Properties with Vacant Buildings.
25          The County identified certain County-owned properties that could be used to shelter
26 persons experiencing homelessness as a means to mitigate exposure to COVID-19. The
27 County believes it may be able to provide up to approximately 2,200 beds, with facilities
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 1 offering congregate living in accordance with CDC and DPH guidance. The current plan is
 2 to supplement the motel/hotel beds referenced above, as needed.
 3          Pipeline Projects.
 4          In addition to shelter specifically provided for COVID-19, the County has opened
 5 or plans to open approximately 400 beds in new interim or permanent supportive housing
 6 facilities between March 1, 2020 and April 1, 2020. An additional 1,000-plus interim or
 7 permanent supportive housing beds will continue to be opened over the next several
 8 weeks and months.
 9          Hygiene.
10          As of the end of last week, the County deployed 90 hand washing stations
11 throughout the County, with input from LAHSA to determine areas of need.
12
13 Dated: March 23, 2020             MICHAEL N. FEUER, City Attorney

14
                                     /s/ Scott Marcus
15                                   SCOTT MARCUS, Senior Assistant City Attorney
16                                   Attorneys for Defendant City of Los Angeles
17 Dated: March 23, 2020            MANATT, PHELPS & PHILLIPS, LLP
18
19                                  By: /s/ Brandon D. Young
                                       Brandon D. Young
20                                     Attorneys for Defendant
                                       COUNTY OF LOS ANGELES
21
22
      Dated: March 23, 2020         FOLEY & LARDNER, LLP
23
24
                                    By: /s/ Byron J. McLain
25                                     Byron J. McLain
                                       Attorneys for Defendant
26                                     COUNTY OF LOS ANGELES
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